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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BRIAN LUCAS, et al., on behalf of themselves          )
and others similarly situated,                        )
                                                      )
               Plaintiffs,                            )     No. 12 C 09672
                                                      )
       v.                                             )     Judge John J. Tharp, Jr.
                                                      )
VEE PAK, INC., et al.,                                )
                                                      )
               Defendants.                            )

                             MEMORANDUM OPINION AND ORDER

       In this proposed class action, five African American laborers allege that defendant Vee

Pak, Inc., a manufacturing and packaging business, directly and through its relationships with the

three defendant temporary employment agencies, discriminates against African American

temporary workers, largely in favor of Latino workers. The four defendants each move to strike

and dismiss the class allegations and to deny class certification, and defendant Vee Pak further

moves to dismiss all claims against it. For the reasons that follow, Vee Pak’s motion to dismiss is

denied, and the motions to strike are granted in part and denied in part.

                                             FACTS 1

       In the Third Amended Class Action Complaint (“TAC,” Dkt. # 45), the five plaintiffs

allege that they each applied for jobs at Vee Pak, directly with the company or through the three

defendant agencies, Staffing Network, MVP, and ASI (collectively, “the agencies”). Despite

their qualifications, none was hired. Most Vee Pak workers are hired through temporary

employment agencies. Of the workers placed at Vee Pak by the agencies, the “overwhelming


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         For purposes of the motion to dismiss, all well-pleaded facts in the TAC are accepted as
true. Tamayo v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008).
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majority” are Latino. Almost no African American laborers are assigned to work at Vee Pak’s

facilities.

        When plaintiffs Brian Lucas, Aronzo Davis, and Torrence Vaughans attempted to apply

for work directly at Vee Pak, they were initially given no information but were eventually told

that they had to apply through an employment agency. Vee Pak representatives, however,

refused to tell the plaintiffs which employment agencies placed laborers at Vee Pak. When they

finally learned, in November 2011, which agencies worked with Vee Pak, Lucas, Davis, and

Vaughans sought work assignments through defendant Staffing Network. Work assignments for

African Americans through Staffing Network are rare, and Staffing Network “almost never”

assigns African American workers to Vee Pak jobs. Furthermore, Staffing Network requires

African American laborers seeking work assignments to complete a pre-application that is not

required of applicants who are not African American. All five plaintiffs were required to

complete a pre-application and were told that they had to return at a later time to complete an

application, a delay that is not imposed on non-African American workers. All five plaintiffs

specifically requested assignments at Vee Pak, but Staffing Network “failed or refused to assign”

them to work there. In the meantime, the plaintiffs observed that Staffing Network allowed

Latino workers to immediately complete applications and assigned them to work at Vee Pak. The

plaintiffs were equally qualified for the work, which required no special skills. Staffing Network

was complying with Vee Pak’s request “to steer African American applicants away from work at

Vee Pak.” 2



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           This allegation and the parallel allegations as to the other agencies are made on
plaintiffs’ “information and belief.” The continuing viability of this practice is questionable in
light of clarified pleading standards in the last five years See, e.g., In re Darvocet, Darvon, and
Propoxyphene Products Liability Litig., 756 F.3d 917 (6th Cir. 2014). However, neither the
Seventh Circuit nor the Supreme Court has yet concluded that pleading upon information and
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       Defendant ASI, another employment agency, also places workers at Vee Pak facilities.

ASI sometimes assigns African American laborers to work at third-party companies, but work

assignments for African American laborers are sporadic. In November 2011, plaintiff Lucas

asked an ASI dispatcher to send him to work at Vee Pak; ASI “failed and refused” to do so.

Latino workers who were no more qualified than Lucas and who had sought employment after

him were placed in Vee Pak jobs. ASI was complying with Vee Pak’s request to steer African

American laborers away from Vee Pak jobs.

       MVP, another employment agency, refused to assign plaintiffs Vaughans and Lucas to

work at Vee Pak despite their specific requests, even though MVP assigned Latino laborers who

were no more qualified. MVP was complying with Vee Pak’s request to steer African American

laborers away from Vee Pak-jobs.

       The plaintiffs filed charges with the EEOC, each alleging discrimination based on race.

Each plaintiff attached a materially identical rider to the charge, stating, in relevant part, that he

had applied for work at Vee Pak through the defendant employment agencies, was qualified to

perform the work, and was not hired. Further, “[o]n information and belief, Vee Pak, Inc. had a

policy and practice of steering qualified African American applicants and employees of its

contracted staffing agencies, including me, away from work at Vee Pak, Inc., while other, less-

qualified non-African-American employees were hired.” The plaintiffs also charged that the Vee

Pak’s policies and practices “had the effect of denying me and a class of other African-American




belief is foreclosed by Twombly and Iqbal, and the Seventh Circuit has expressly allowed it in
the context of fraud claims (which have a heightened pleading standard) if the underlying facts
are not accessible to the plaintiff and there are some grounds provided for the plaintiffs’
suspicions. See Cincinnati Life Ins. Co. v. Beyrer, 722 F.3d 939, 948 (7th Cir. 2013); Pirelli
Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 441, 442-43 (7th
Cir. 2011).

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applicants an equal employment opportunity and resulted in systematic discrimination against

African-American applicants and segregation of its workforce.”

       The plaintiffs timely filed this lawsuit upon receiving their right-to-sue notices from the

EEOC. They brought a class action complaint alleging that Vee Pak and the agencies violated

Title VII of the Civil Rights Act and 42 U.S.C § 1981 by discriminating against African

American laborers with respect to placements at Vee Pak. The plaintiffs allege that the

defendants’ discriminatory polices give rise to liability as to a class of African Americans who

sought work assignments with Vee Pak, either directly or through a defendant agency, but were

not assigned to work at Vee Pak because of their race. The complaint asserts both disparate

treatment and disparate impact theories of discrimination, and it seeks to hold Vee Pak and the

employment agencies jointly liable under several theories.

                                          DISCUSSION

       Vee Pak moves to dismiss all the claims outright, and, along with each of the three other

defendants, also moves to strike the class allegations.

       I.      Motion to Dismiss for Failure to State a Claim

       To survive a motion to dismiss, a complaint must state a claim to relief that is plausible

on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Adams v. City of Indianapolis,

742 F.3d 720, 728 (7th Cir. 2014). The plaintiffs must plead sufficient factual content from

which the Court can “draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Allegations in the form of

legal conclusions, as well as threadbare recitals of the elements of a cause of action, supported by

conclusory statements, do not suffice. Adams, 742 F.3d at 728. Factual, but not legal, allegations

are taken as true for purposes of the motion. Id.



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       Vee Pak moves to dismiss all of plaintiffs’ claims under Rule 12(b)(6), count by count.

As this Court has pointed out before, this approach disregards the difference between “claims,”

which explain the plaintiff's grievance and demand relief, and “counts,” which describe legal

theories by which those facts purportedly give rise to liability and damages. E.g., Volling v.

Antioch Rescue Squad, --- F.Supp.2d ----, 2013 WL 6254254, at *2 (N.D. Ill. 2013). See also

NAACP v. American Family Mut. Ins. Co., 978 F.2d 287, 292 (7th Cir.1992). Pleading in counts,

although often helpful, is not required—unless “doing so would promote clarity” as to “each

claim founded on a separate transaction or occurrence.” See Fed. R. Civ. P. 10(b) (emphasis

added); Alioto v. Town of Lisbon, 651 F.3d 715, 721 (7th Cir.2011). Indeed, it is axiomatic that a

plaintiff is not required to plead legal theories at all. See Jajeh v. County of Cook, 678 F.3d 560,

567 (7th Cir.2012) (hostile work environment claim pleaded where complaint never used that

term). Nothing in Twombly or Iqbal changes that tenet: those cases “do not undermine the

principle that plaintiffs in federal courts are not required to plead legal theories.” Hatmaker v.

Memorial Med. Ctr., 619 F.3d 741, 743 (7th Cir.2010); Alioto, 651 F.3d at 721 (“[W]e have

stated repeatedly (and frequently) that a complaint need not plead legal theories, which can be

learned during discovery.”). Vee Pak’s motion glosses over this principle and loses sight of the

fact that all of the plaintiffs’ “claims”—by which Vee Pak means “counts”—are based upon the

same factual predicate; each legal theory is founded on the same underlying events.

               A.      Direct, Joint, and Vicarious Liability

       The “count”–vs.–“claim” observation is particularly relevant to Vee Pak’s arguments

that, as a substantive matter, the plaintiffs’ claims fail because they have not adequately alleged

their theories of joint liability between Vee Pak and the staffing agencies. The plaintiffs’



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underlying theories of Vee Pak’s liability are that (1) Vee Pak does not want African American

workers and that the employment agencies see to that at Vee Pak’s direction; or (2) Vee Pak

controls the hiring decisions of its contracted employment agencies, which refuse to assign

African American workers, or turns a blind eye to such discrimination. E.g., TAC, Dkt. # 45

¶¶16-18, 28-29, 47-49, 52-54, 67-69, 72-73, 86-88.

       These facts adequately allege a factual basis for liability on behalf of Vee Pak; the

plaintiff need not establish at this early stage whether the agency defendants are “joint

employers” with Vee Pak for purposes of the hiring decisions, whether they are agents of Vee

Pak, or whether Vee Pak is directly or vicariously liable. See Mem., Dkt. # 59, at sections E, F,

G, I, J & K 3 (seeking dismissal of all joint employer theories of Title VII and Section 1981

liability). Tellingly, Vee Pak’s argument is not that, given the allegations of the complaint, it

cannot be liable as a matter of law for the decisions not to hire African American laborers.

Instead, it is criticizing the plaintiffs’ failure to identify their legal theory with sufficient

precision. That is not required to state a claim for relief. Because Vee Pal has not argued or

demonstrated that given the nature of the factual allegations, it could not be held liable for

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           Vee Pak’s arguments “G” and “K” both are directed at the plaintiffs’ allegations that
Vee Pak knew but did not exercise reasonable care to prevent the discrimination (the arguments
pertain to relief under Title VII and section 1981, respectively). In combination with the
allegations that Vee Pak itself was an employer and it had a discriminatory policy, the Court
takes this “reasonable care” theory as simply another way of asserting that Vee Pak is liable
either directly or indirectly for the failure to place African American workers at Vee Pak
facilities. There is no need to treat this alternate legal theory as an independent “claim” for
purposes of a motion to dismiss. Like every other count in the complaint, it is based on the same
underlying occurrences and facts. Vee Pak is correct as a technical matter that liability cannot be
based purely on the failure to prevent another party from discriminating. That truism is of no
help to Vee Pak because, contrary to its arguments, the complaint does allege that Vee Pak had a
policy of preferring Latino workers to African American workers; it further alleges a principle-
agent and / or joint employer relationship—in contrast to the only case cited by Vee Pak,
General Bldg. Contractors Ass'n, Inc. v. Pa., 458 U.S. 375, 391-395 (1982). It is premature to
hold as a matter of law, as Vee Pak requests, that contrary to the complaint’s allegations, Vee
Pak had “no meaningful control” over how the agencies selected and assigned workers.

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discriminatory hiring under any legal theory, the Court will not dismiss the claims because they

are premised on alternate theories of joint liability.

               B.      Disparate Treatment

       Vee Pak also argues that the plaintiffs fail to plead a plausible disparate treatment claim

because they fail to allege all the required elements. Mem., Dkt.# 59 at 3-5. Vee Pak asserts that

“all [the plaintiffs] have shown is that they tried to get work from Vee Pak and were not hired.”

Id. at 4. That is inaccurate; the plaintiffs allege that they were not hired while equally or less

qualified applicants of other races were hired, that they were subjected to peculiar application

requirements, and that Vee Pak’s temporary workforce includes “almost no” African Americans.

To state a claim for employment discrimination, the plaintiff must simply aver that he suffered

an adverse employment action on account of his race. Luevano v. Wal-Mart Stores, Inc.,722 F.3d

1014 (7th Cir. 2013) (articulating standard with respect to gender); Lavalais v. Vill. of Melrose

Park, 734 F.3d 629 (7th Cir. 2013) (explaining in race discrimination context that less factual

detail is required to support simple claims). “Employers are familiar with discrimination claims

and know how to investigate them, so little information is required to put the employer on notice

of these claims.” Carlson v. CSX Transp., Inc., 758 F.3d 819, 827 (7th Cir. 2014) (further

explaining that there is no heightened pleading standard in Title VII cases). The factual

allegations in the complaint set forth a claim of intentional discrimination by way of a practice of

refusing to directly or indirectly hire African American workers.

               C.      Pattern or Practice

       The same result holds for the plaintiffs’ allegations of a “pattern or practice” of

discrimination by Vee Pak. See Mem, Dkt. # 59 at 5-6. To the extent that the plaintiffs intended

to separately assert a pattern or practice claim, it is supported by the same facts as the disparate



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treatment claim. Indeed, pattern-or-practice claims are a kind of disparate-treatment claim; both

“represent a theory of intentional discrimination.” See Puffer v. Allstate Ins. Co., 675 F.3d 709,

716 (7th Cir. 2012). The difference is that in a pattern-or-practice case, discrimination is “the

company's standard operating procedure—the regular rather than the unusual practice.” Id.

(quoting Int'l Bhd. of Teamsters v. United States, 431 U.S. 324, 336 (1977)). Here, all of the

plaintiffs’ legal theories against Vee Pak rest on the core allegation that, as a rule, Vee Pak

prefers not to employ African American laborers, and that the employment agencies implement

the discriminatory policy. The plaintiffs quite clearly are alleging that their experiences were not

anomalous, but were standard operating procedure. Therefore, they have facts to support a

pattern-or-practice claim, although it is not clear that they intended to bring separate disparate

treatment and pattern-or-practice “claims” to begin with.

               D.      Section 1981

       Vee Pak next targets the plaintiffs’ § 1981 failure-to-hire claims, arguing that the factual

allegations are insufficient to support a claim for relief under this legal theory. Mem., Dkt. # 59

at 13-15. Section § 1981 prohibits racial discrimination in the making and enforcement of private

contracts; its scope extends only to “conduct at the initial formation of the contract and conduct

which impairs the right to enforce contract obligations through legal process.” Campbell v.

Forest Preserve Dist., 752 F.3d 665, 669 (7th Cir. 2014) (quoting Patterson v. McLean Credit

Union, 491 U.S. 164, 179 (1989)).

       According to Vee Pak, the plaintiffs must, but failed, to plead that they applied for open

positions that were then filled by individuals outside of their protected class. See Mem, Dkt. # 59

at 13. For this proposition, Vee Pak relies on Blise v. Antaramian, which was a summary-

judgment case and said nothing about pleading standards. 409 F.3d 861, 866 (7th Cir. 2005). But



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both the Supreme Court and the Seventh Circuit have made clear (at least under Title VII) that

the plaintiff’s burden of proof on an employment discrimination claim is not commensurate with

what must be pleaded in the complaint. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002);

Luevano, 722 F.3d at 1028.

       Therefore, we are left, again, with the plaintiffs’ allegations they applied for work at Vee

Pak both directly and through contracted employment agencies, that they were qualified for the

work, that they were not assigned to the Vee Pak jobs, and that Latino workers filled the

positions instead, although those workers were no more qualified than the plaintiffs, who also

were subject to increased application procedures. Moreover, the plaintiffs allege that Vee Pak

facilities are staffed with almost no African American workers, and that the defendant

employment agencies only rarely assign jobs to the African American laborers seeking work

through them. The Court has held already that these allegations suffice to state a disparate

treatment claim under Title VII; Vee Pak cites no authority that requires more or different

allegations in order to plead a section 1981 claim. Nor can it: “Title VII claims and 42 U.S.C.

§ 1981 claims incorporate the same liability standard.” Whitfield v. Int’l Turck & Engine Corp.,

755 F.3d 438, 442 (7th Cir. 2014); see Smith v. Bray, 681 F.3d 888, 899 (7th Cir. 2012) (“In

general, the same standards govern intentional discrimination claims under Title VII, § 1981, and

§ 1983.”). No special pleading formula attaches to claims under § 1981. Because the plaintiffs

have alleged sufficient facts to support a claim of intentional discrimination based on race, the

Court will not preclude the § 1981 theory of relief at the pleading stage.

               E.      Disparate Impact

       Vee Pak also argues that the plaintiffs cannot maintain a disparate impact claim because

it is beyond the scope of their EEOC charges. A Title VII plaintiff, of course, may proceed only



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on claims that were fairly within the scope of the predicate administrative charge; the claims

must be ‘like or reasonably related to the allegations of the charge and growing out of such

allegations.” Farrell v. Butler Univ., 421 F.3d 609, 616 (7th Cir. 2005).

       On this point the Court agrees with the analysis of Judge Lee in Lucas v. Ferrara Candy

Company, No. 13 C 1525, 2014 WL 3611130 (N.D. Ill. 2014), a case involving the same

plaintiffs and very similar legal claims and administrative charges against a different employer.

Here, as in that case, the plaintiffs identified a specific employment policy—preferring Latino

workers to African American workers—that disparately impacts African American workers,

almost none of whom are able to obtain assignments to work at Vee Pak. See id. at * 4; see also

Lucas v. Gold Standard Baking, No. 13 C 1524, 2014 WL 518000, at * 3 (N.D. Ill. 2014). It

does not matter that the policy is facially discriminatory rather than facially neutral: as plaintiffs

correctly argue, either kind of employment practice is actionable if it disparately impacts workers

of a certain race. Adams v. City of Indianapolis, 742 F.3d 720, 731 (7th Cir. 2014). In a case

where the alleged policy is to prefer one race over another, the disparate impact can be

reasonably inferred simply from the existence of the policy. 4 Therefore, the scope of the EEOC

charges fairly encapsulates a claim of disparate impact caused by Vee Pak’s alleged race-

preference policy. The charge referred to Vee Pak’s “policy and practice of steering qualified

African American applicants and employees of its contracted staffing agencies . . . away from

work at Vee Pak, Inc.,” which “had the effect of denying . . . . an equal employment opportunity

and resulted in systematic discrimination.” Def. Ex. 1, Dkt. # 59-1. As in the other Lucas cases,

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          In that sense, it is hard to distinguish a disparate impact claim based on a deliberately
discriminatory employment policy from a claim of intentional discrimination, and it is not clear
what, if any, benefit the plaintiffs obtain by alternatively invoking the disparate impact theory.
Proving the existence of the policy, which is necessary to the disparate-impact claim, will
essentially amount to proving intentional discrimination because the policy at issue is not race-
neutral.

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that suffices to put the defendant on notice of both disparate treatment and disparate impact

theories of relief.

        II.       Motions to Strike and Dismiss Class Action Allegations

        The plaintiffs have not yet moved for class certification, but all four defendants argue that

this Court should determine based solely on the allegations in the complaint that, as a matter of

law, this case cannot be certified for class treatment. Those motions are granted in part and

denied in part.

                  A.    Class Definition

        The Court agrees with the defendants—as do the plaintiffs, see Mem., Dkt. # 75 at 19—

that the class definitions as pleaded in the third amended complaint are deficient. All variations

set forth in the complaint beg the question of liability, in that the class is made up of certain

African-American workers who were not hired “because of their race.” See TAC, Dkt. # 45

¶¶ 97, 103, 112, 124, 136, 148. It is therefore a “fail-safe” class: “one that is defined so that

whether a person qualifies as a member depends on whether the person has a valid claim.” See

Messner v. Northshore Univ. Healthsystem, 669 F.3d 802 (7th Cir. 2012). “Such a class

definition is improper because a class member either wins or, by virtue of losing, is defined out

of the class and is therefore not bound by the judgment.” Id. The class definitions set forth in the

TAC therefore are stricken, but the ruling is without prejudice to the amendment of the

definition.

                  B.    Sufficiency of Class Allegations

        It is premature to bar the plaintiffs from moving for class certification. The defendants

are correct that class certification can be denied even before the plaintiffs move for class

certification if discovery will not address obvious defects in the class allegations. See Gen. Tel.



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Co. of the Sw. v. Falcon, 457 U.S. 147, 160 (1982) (suggesting that “sometimes the issues are

plain enough from the pleadings to determine” whether a class can be certified); Kasalo v. Harris

& Harris, Ltd., 656 F.3d 557, 563 (7th Cir. 2011) (Under Rule 23(c)(1)(A), a court may “deny

class certification even before the plaintiff files a motion requesting certification”); Payton v.

County of Carroll, 473 F.3d 845, 854 (7th Cit. 2007) (absence of typicality may be evident on

face of complaint). Contrary to the defendants’ arguments, however, it is not evident from the

face of the complaint here that class certification would be improper as a matter of law.

                      1. Rule 23(a) Commonality Requirement

       The defendants primarily argue that it is clear from their allegations that the plaintiffs

were not injured by a common practice or policy, and that they therefore cannot satisfy Rule

23(a). But the defendants are wrong to rely, as they all do, on Wal-Mart Stores v. Dukes. That

case addressed the commonality requirement in detail, holding that plaintiffs must identify a

“specific employment practice” that is the common cause of the disparate impact. 131 S. Ct. at

2541, 2555 (2011). Furthermore, that employment practice cannot be the delegation of discretion

to individual managers, unless that discretion is exercised in a common, discriminatory, manner.

Id. at 2554-55.

       At least from the fact of the pleadings—discovery might show otherwise—this is not a

case that involves a a policy calling for individual discretionary decisions—what the Wal-Mart

Court described as a “policy against having a uniform policy.” 131 S. Ct. at 2554. The plaintiffs

here allege that Vee Pak prefers to hire non-African American workers, and that the employment

agencies implement that policy by steering African American workers out of Vee Pak job

assignments. Pursuant to the alleged policy, the defendants do not exercise discretion; rather,

they disfavor African American workers for Vee Pak jobs as a general rule. This is the type of



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non-discretionary, system wide policy that can satisfy the commonality requirement because, at

least as far as can be discerned from the complaint, the allegedly injurious conduct is the same

from plaintiff to plaintiff. See Suchanek v. Sturm Foods, Inc., ---F.3d----, 2014 WL 4116493, at

*5 (7th Cir. 2014); McReynolds v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482,

489 (7th Cir. 2012) (explaining that an employment decision by top management that is

implemented at all levels differs from a delegation of the decision to local supervisors). A policy

that precludes the consideration of a class of workers is not a policy of individualized discretion.

       Even a single common question can satisfy the commonality requirement. Wal-Mart, 131

S. Ct. 2556; Suchanek, 2104 WL 4116493, at *5 (“Neither Rule 23 nor any gloss that decided

cases have added to it requires that every question be common. It is routine in class actions to

have a final phase in which individualized proof must be submitted.’). Here, the plaintiffs posit

several, see TAC, Dkt. # 45, ¶ 89(c), the most obvious of which is the existence of the policy of

discrimination against African Americans and how it was implemented through the use of

staffing agencies. Such a policy would be a common cause of all the class members’ injuries.

       Moreover, the plaintiffs have not, as some defendants argue, demonstrated with their own

allegations that “highly particularized factors” go into the employment agencies’ hiring decisions

for Vee Pak assignments. Nothing in the complaint suggests an individualized hiring procedure

for the temporary laborer jobs at issue. 5 Instead, the tenor of plaintiffs’ complaint is that

availability is the only criterion; they have alleged that the non- or semi-skilled work for which

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         As plaintiffs summarize their allegations: “on a given day, Vee Pak requests a certain
number of laborers for low-skilled work at its manufacturing plant. TAC, ¶1, 16. Vee Pak’s
employment agencies recruit laborers to fill the order for low-skilled laborers. TAC, ¶27, 30.
When a laborer seeks a work assignment from Vee Pak’s employment agencies, including
laborers who walk into these Vee Pak’s employment agencies' dispatch office, s/he does not
apply for a single, specific job, but seeks assignment to any low-skilled jobs at third party client
companies, including Vee Pak, available through Vee Pak’s employment agencies. TAC, 30-31.”
Mem., Dkt.# 75 at 14.

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they were passed over was given to Latino workers with no specialized qualifications, for

example. According to the plaintiffs, African Americans were excluded nearly categorically

from Vee Pak work assignments; that is an allegation of a common policy implemented in a

common manner, not of particularized hiring decisions made through the exercise of discretion.

As for the three separate employment agencies that might have different procedures, none of the

parties has yet suggested the prospect of agency-specific subclasses, which seems an obvious

solution (if there is indeed a problem) and is no barrier to a finding a commonality among the

greater class. See Johnson v. Meriter Health Servs. Employee Retirement Plan, 702 F.3d 364,

368 (7th Cir. 2012).

       Finally, the defendants are off-base in contending that “class treatment is inappropriate

where plaintiffs cannot establish a method for measuring damages on a class-wide basis.” E.g.,

Alternative Staffing Mem., Dkt. # 68 at 14. The Seventh Circuit in In Re IKO Roofing Shingle

Products Liability Litig., 757 F.3d 599 (7th Cir. 2014), thoroughly dismantled the contention that

either Dukes or Comcast Corp. v. Behrend, ––– U.S. ––––, 133 S. Ct. 1426 (2013) requires

“commonality of damages” under Rule 23(a)(2) if by that term one means “the same damages.”

See id. at 602. See also Suchanek, 2014 WL 4116493, at *5 (“Neither Rule 23 nor any gloss that

decided cases have added to it requires that every question be common. It is routine in class

actions to have a final phase in which individualized proof must be submitted.); Butler v. Sears,

Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013) (“It would drive a stake through the heart of

the class action device ... to require that every member of the class have identical damages”).

Injury caused by the same common conduct is what is required, not identical damages.




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                       2. Other Threshold Requirements

       The defendants further argue that the plaintiffs’ allegations with respect to the other Rule

23(a) requirements do not satisfy current pleading standards. It is certainly correct that under

Ashcroft v. Iqbal that this Court cannot accept as true plaintiffs’ legal conclusions as to

numerosity, typicality, and superiority. But there are factual allegations in the complaint

sufficient to survive a pre-certification motion to dismiss. For example, Staffing Network

contends the plaintiffs’ assertion of numerosity is insufficient because they simply state that “the

class is so numerous that joinder or all members is impracticable.” Mem., Dkt. # 55 at 9

(quoting, presumably, TAC ¶ 89(a)). Yet this overlooks the plaintiffs’ allegations, first of all, that

nearly all of the African American workers who sought work at Vee Pak through the defendant

agencies were refused, and that also there were “hundreds of individuals” employed by the

defendants during the class period. 6 Before discovery it is unclear what other facts the

defendants would require to support an allegation of numerosity. If an entire race of workers in a

large metropolitan area was blackballed, a numerous class is plausible.

       Nor does the Court find the pleading stage to be the appropriate time to determine

whether the plaintiffs’ typicality and adequacy allegations—which only Vee Pak challenges in a

substantive way, see Mem., Dkt. #62 at 8— can be proved; it is enough at this stage to say that

they have been plausibly alleged. Further, Vee Pak’s typicality argument seems to be primarily

directed at a theory of direct liability that the plaintiffs disclaim in their response brief. They say

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          Defendant Alterative Staffing states that the total number of individuals employed by all
the defendants “has no relation” to how many people would be in the putative class. Mem., Dkt.
# 68 at 9. But where the complaint alleges that almost none of these people were African
American, by design, the figure is relevant to determining the number of positions for which
African Americans were not hired—those are the class members. But even without any data
about how many workers might be in the class, until class discovery has occurred it is reasonable
to infer numerosity from the allegations in the complaint that almost all workers of one race were
excluded. Further precision seems unlikely without demographic data from the defendants.

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that Vee Pak “misconstrues [their] allegations as to Defendant Vee Pak’s alleged failure to

provide adequate information on how to apply,” and that as to Vee Pak, they are challenging the

“policy of disfavoring African American[s], through [Vee Pak’s] agents, the employment

agencies to whom Vee Pak made discriminatory requests not to assign African American

workers to work at Vee Pak.” As for adequacy, Vee Pak cites a conflict of interest on behalf of

the class representatives to the extent that “class members competed for the same jobs,” Mem.,

Dkt. # 62 at 11, but again, this is a fact that is not evident from the face of the pleadings that

cannot be the basis for denying certification at this stage.

                       3. Rule 23(b) Requirements

       The defendants also contend that class certification should be barred because the

plaintiffs have failed to properly plead facts supporting the Rule 23(b) requirements of

superiority and predominance.

       For example, defendant MVP advances the representative argument that these

requirements cannot be met because “[t]he claim of each putative class member involves an

individualized factual inquiry into the time of day he arrived at MVP, the day of the week he

arrived at MVP, the number of laborers who arrived before him that day at MVP, and the

number of laborers who were requested by Vee Pak on that day and at that time.” Mem., Dkt. #

65 at 13. Wherever these factual assertions come from, it is not from the complaint; the Court

certainly cannot take MVP’s word that hiring is based on these individualized factors. Moreover,

none of these individualized factors would be relevant if the plaintiffs’ core allegations of a

blanket policy against hiring African Americans are the true reason that the putative class

members were not assigned work at Vee Pak.




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        The questions of superiority and predominance are uniquely difficult to resolve based on

the complaint alone; the defendants speak to their individualized defenses, but they have not yet

even answered the most recent complaint. The defendants are assuming a number of

individualized issues that, at present, have no foundation in the governing complaint. Moreover,

all of the defendants seem to assume, prematurely, the plaintiffs will try to prove liability under

the indirect method of proof, which will allow the defendant to assert individualized, non-

discriminatory reasons why each plaintiff was not hired. But the plaintiffs might elect the direct

method and show either “an admission of discriminatory intent” or provide sufficient

circumstantial evidence of such intent, such as “(1) suspicious timing, ambiguous oral or written

statements, or behavior toward, or comments directed at, other employees in the protected group;

(2) evidence, whether or not rigorously statistical, that similarly situated employees outside the

protected class received systematically better treatment; or (3) evidence that the employer

offered a pretextual reason for an adverse employment action.” See Tank v. T-Mobile USA, Inc.,

758 F.3d 800, 805 (7th Cir. 2014). The defendants have simply not shown that superiority and

predominance cannot be established as a matter of law.

        None of this is to say that the plaintiffs have demonstrated that a class or classes should

be certified; they have not. The plaintiffs will have to overcome all of Rule 23’s hurdles in order

to warrant class certification. But the allegations in the complaint are sufficient for purposes of

Rule 8(a) and, moreover, they do not demonstrate any irremediable defect that requires denial of

class certification as a matter of law. The facts as set forth in the complaint leave room for

certification based on a common policy of restricting African American workers from Vee Pak

assignments. The plaintiffs are therefore entitled to discovery before the defendants can attempt

to bar the door to class certification.



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       For the reasons set forth above, Vee Pak’s motion to dismiss [57] is denied. The

defendants’ motions to strike [54, 60, 63, 67] are granted in part, only insofar as the class

definition is stricken without prejudice, and otherwise denied.




Date: September 17, 2014
                                                          John J. Tharp, Jr.
                                                          United States District Judge




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